                                                                                      Revised July 2012
               United States District Court for Western District of Tennessee
                 MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Case Title
 Plaintiff
JOHN BAKER MCCLANAHAN, PERSONAL REPRESENTATIVE OF THE ESTATE OF MELISSA BUCHANAN

 Defendant
STATE FARM LIFE INSURANCE COMPANY
 Case Number                                       Judge
1:22-cv-01031-STA-jay                             S. Thomas Anderson

   Melinda R. Coolidge
I, _______________________________________________________        hereby apply to the United
States District Court for the Western District of Tennessee, pursuant to Local Rule 83.4(d), for
permission to appear and participate in the above-entitled action on behalf of
Plaintiff
__________________________________________________         by whom I have been retained.

I am a member of good standing and eligible to practice before the following courts:
                             Title of Court                                   Date Admitted
                         See Attachment A




I certify that I subject myself to the jurisdiction of the United States District Court for the
Western District of Tennessee and have obtained and have familiarized myself with and agree
to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8
(Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

Please find attached a certificate of good standing from the highest Court of a state or the
District of Columbia, and from a United States District Court.

A proposed order, in word processing format, granting this Motion will be emailed to the ECF
mailbox of the presiding judge.




   The pro hac vice admission fee is $10.00 that shall be paid to the Clerk of Court through
                  the Court’s Electronic Case Filing System ’s pay.gov feature.




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I hereby certify that the information provided below is true and accurate:
 Applicant’s Last Name            First Name                           Middle Name/Initial
Coolidge                          Melinda                              R.

 Applicant’s Firm Name
                         Hausfeld LLP
 Applicant’s Address                                                     Room/Suite Number
 888 16th Street, NW                                                           300

 City
        Washington                                  State
                                                            DC                    Zip Code
                                                                                             20006
 Applicant’s Email Address
              mcoolidge@hausfeld.com
 Applicant’s Phone Number(s)
                               (202) 540-7200
                                  Certificate of Consultation

I hereby certify that movant has made reasonable efforts to confer with all parties or
non-parties who may be affected by the relief sought in this motion.




 Date                                               Electronic Signature of Applicant
         March 25, 2022                             S/    Melinda R. Coolidge




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                                            Attachment A

                                   Admissions Melinda R. Coolidge



                                Admission                                     Date of Admission
Maryland Court of Appeals (Bar ID 20820)                            December 16, 2008
District of Columbia Court of Appeals (Bar ID 287467)               October 5, 2009
U.S. District Court - District of Columbia                          April 2, 2012
U.S. District Court – District of Maryland                          March 15, 2019
U.S. District Court – Western District of New York                  March 20, 2018
U.S. Court of Appeals - Second Circuit                              January 28, 2014
United States Supreme Court                                         April 16, 2018
       United States District & Bankruptcy Courts
               for the District of Columbia
                          CLERK’S OFFICE
                      333 Constitution Avenue, NW
                              Room 1225
                        Washington, DC 20001




I, ANGELA D. CAESAR, Clerk of the United States District Court

for the District of Columbia, do hereby certify that:

                    MELINDA COOLIDGE

was, on the
              2nd     day of
                                   April        A.D.
                                                        2012     admitted to

practice as an Attorney at Law at the Bar of this Court, and is, according to

the records of this Court, a member of said Bar in good standing.



In Testimony Whereof, I hereunto subscribe my name and affix the seal of

said Court in the City of Washington this
                                             25th       day of
                                                                  March

A.D.
       2022    .




                               ANGELA
                                   LA D
                                      D. CAESAR
                                         CAESAR, Clerk of Courts


                            By:
                                                 Deputy Clerk
  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                       Melinda R Coolidge
        was duly qualified and admitted on October 5, 2009 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on March
                                                                                   22, 2022.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
